Case 1:12-md-02358-JDW   Document 28-1   Filed 08/28/12   Page 1 of 2 PageID #: 146




              EXHIBIT A
     Case 1:12-md-02358-JDW            Document 28-1          Filed 08/28/12        Page 2 of 2 PageID #: 147
                  Case Name                           Original Court and Case Number              D. Del. Case Number
Allen v. Google, Inc.                  Southern District of Florida 1:12‐cv‐20842‐UU           1:12‐cv‐00740‐SLR
Burdick et al v. Google Inc et al      Western District of Oklahoma 5:12‐cv‐00332‐R            1:12‐cv‐00798‐SLR
Clark v. Google, Inc.                  Eastern District of Texas 1:12‐cv‐00105‐RC              1:12‐cv‐00799‐SLR
Dogga et al v. Google Inc              District of Connecticut 3:12‐cv‐01046‐WWE               1:12‐cv‐01003‐SLR
Franchise Dynamics LLC v. Google Inc   Northern District of Illinois 1:12‐cv‐02920             1:12‐cv‐00793‐SLR
Glaser v. Google Inc.                  District of Delaware 1:12‐cv‐00667‐SLR                  1:12‐cv‐00667‐SLR
Gourley v. Google,Inc et al            Western District of Kentucky 5:12‐cv‐00048‐TBR          1:12‐cv‐00794‐SLR
Heinrich v. Google, Inc.               Northern District of Illinois 1:12‐cv‐01821             1:12‐cv‐00792‐SLR
Heretick v. Google, Inc.               Southern District of Florida 1:12‐cv‐20888‐ KMW         1:12‐cv‐00791‐SLR
Jacobsen v. Google Inc                 District of the District of Columbia 1:12‐cv‐00351      1:12‐cv‐00790‐SLR
Krause v. Google, Inc.                 California Northern District 5:12‐cv‐01524‐HRL          1:12‐cv‐00789‐SLR
Kreisman v. Google, Inc.               Northern District of Illinois 1:12‐cv‐01470             1:12‐cv‐00741‐SLR
Landrum v. Google, Inc.                Northern District of Alabama 6:12‐cv‐02389‐HGD          1:12‐cv‐00962‐SLR
Martorana v. Google, Inc.              Western District of Missouri 2:12‐cv‐00222‐ MJW         1:12‐cv‐00744‐SLR
Movitz v. Google, Inc.                 Northern District of Mississippi 3:12‐cv‐0023‐MPM‐SAA   1:12‐cv‐00743‐SLR
Musgrove v. Google, Inc.               District of Maryland 8:12‐cv‐00698                      1:12‐cv‐00795‐SLR
Nobles v. Google, Inc. et al           California Northern District 3:12‐cv‐03589‐LB           1:12‐cv‐01000‐SLR
Oldenburg v. Google Inc                Eastern District of Wisconsin 2:12‐cv‐00267‐NJ          1:12‐cv‐00800‐SLR
Rischar v. Google, Inc. et al          District of Kansas 2:12‐cv‐02100                        1:12‐cv‐00742‐SLR
Soble v. Google Inc.                   District of Delaware 1:12‐cv‐00200‐ SLR                 1:12‐cv‐00200‐SLR
Sossin v. Google, Inc.                 District of New Jersey 2:12‐cv‐02113‐CCC‐JAD            1:12‐cv‐00797‐SLR
Treis v. Google, Inc.                  Eastern District of Missouri 4:12‐cv‐00433‐JCH          1:12‐cv‐00796‐SLR
Villegas v. Google, Inc et al          Northern District of California 5:12‐cv‐00915‐PSG       1:12‐cv‐00739‐SLR
Yngelmo v. Google Inc.                 District of New Jersey 2:12‐cv‐00983‐CCC‐JAD            1:12‐cv‐00745‐SLR
